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                                                                                         [f'Wb~[Q')
                                     IN THE UNITED STATES DISTRICT COURT                      JUN 30 2023
                                            FOR THE DISTRICT OF KANSAS                    ~          strict Court
                                                                                        St~             Deputy Clerk
In re: Annette - Jeter:Sipple,        No.

           Gary - J : Sipple,         HEARING DEMANDED

Real Party In Interst Uus             Verified Motion in Opposition to
Personarum)                           Defendant's Motion to Dismiss

Living Woman/ Man; Plaintiff,               Case No. 23-4038-HLT-RES

ANNETTE JETER - SIPPLE

GARY SIPPLE

infant / minor

      V.


Michael L. Zevitz, William H.
Meyer, Cyndi Beck, et al ....

                      Respondents




                                Plaintiff's Opposition to STRIKE Attorney's Motion to Dismiss

Plaintiff, Annette Jeter - Sipple, Gary Sipple natural living woman/ man of majority status and not as

incorrectly styled on your documents as "ANNETTE JETER SIPPLE, GARY SIPPLE , respectfully submits

this opposition to all Defendants' Unauthorized Attorney's to strike the arguments and briefs proposed, absent

affidavits, competent witness testimony, or admissible evidence entered into the court record to dismiss this case in

summary judgment, and says in support:

    1. This motion in opposition to Strike Unauthorized Attorney Motion to Dismiss is pursuant to Federal Rule

           56( c)(2), (4) and Federal Rules of Civil Procedure (FRCP) 602.

   2. The Unauthorized Attorney filed a motion to dismiss action, with sanctions.
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3. The Rules of Procedure provide that a party may move for summary judgment, identifying each claim or

   defense on which summary judgment is sought.

4. The Unauthorized Attorney is not a competent witness and cannot submit admissible evidence.

5. Unauthorized Attorney, being an agent and not a competent witness, cannot show that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.

6. "Statements of counsel in their briefs or argument while enlightening to the Court are not sufficient for

   purposes of granting a motion to dismiss or summary judgment." Trinsey v Pagliaro, D.C.Pa. 1964, 229

   F.Supp. 647

7. Without a competent witness the arguments and briefs of counsel are not admissible evidence.

8. Without admissible evidence then the court has no facts before it upon which to render a summary

   judgment.

9. While the appropriate party to attest to the facts is the plaintiff himself or herself, statutes have sometimes

   expressly authorized affidavits for ce1iain purposes to be made by agents or attorneys. Thus, where the

   principal is absent or ill, or for some other reason is unable to make an affidavit, an affidavit by his agent or

   attorney, who has knowledge of the facts, may be received, and it must rest upon his personal knowledge in

   an area in which he is competent to testify. However, an attorney's affidavit that is not based upon personal

   knowledge is ·without value.

10. Generally, the agent's personal knowledge of the facts sworn to will not be presumed, and, therefore, the

    means and sources of his information should be shown.[Columbia Screw Co. v. Warner Lock Co., 138 Cal.

    445, 71 P. 498 (1903); Mintz v. Tri-County Natural Gas Co., 259 Pa. 477, 103 A. 285 (1918)]

11. Thus, an affidavit that does not positively and unequivocally represent the facts as disclosed in the affidavit

    to be true and within the affiant's personal knowledge is legally insufficient. [David McDavid Nissan, Inc. v.
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   Subaru of America, Inc., 10 S. W.3d 56 (Tex. App. Dallas 1999), review granted, (Dec. 7, 2000) and rev'd

   on other grounds, 44 Tex. Sup. Ct. J. 779, 2001 WL 578337 (Tex. 2001), reh'g granted, (Dec. 6, 2001)]

12. Opinions or beliefs of an expert based on his or her special training and experience do not meet the

   requirement of personal knowledge for a statute governing affidavits for summary judgment.[Read v. State

   Farm Fire & Cas. Ins. Co., 725 So. 2d 85 (La. Ct. App. 3d Cir. 1998)]

13. An affidavit that contains only legal conclusions is substantively deficient and, although formal

   deficiencies in an affidavit can be waived ... substantive deficiencies cannot be waived. Elam v. Quest

   Chemical Corp., 884 S.W.2d 907 (Tex. App. Beaumont 1994), reh'g overruled, (Nov. 22, 1994) and

   judgment rev'd on other grounds, 898 S.W.2d 819 (Tex. 1995) and writ granted, (May 25, 1995).




   I. FEDERAL QUESTION, JUDICIAL REVIEW, STRICT SCRUTINY RULE

14. Plaintiff has, to the best of their ability, incorporated the well written complaint rule entering a complaint

   centered around Article III standing of; injury in fact, causation, and redressability.

15. The constitutional requisites, under A1iicle III for the existence of standing, are that the plaintiff(s) must

   have personally: 1) suffered some actual or threatened injury; 2) that injury can fairly be traced to the

   challenged action of the defendant; and 3) that the injury is likely to be redressed by a favorable decision.

16. Plaintiffs' declaratory relief, strict scrutiny rule, and federal questions are issues of law that are clearly in

   controversy and can only be resolved by judicial declaration in an A1iicle III Comi.

   a.   Ati III.S2.C 1.2.1 Rules of Justiciability and the Case or Controversy Requirement Article III, Section

   2, Clause 1: The Judicial Power shall extend to all cases, in both Law and Equity, arising under this

   Constitution, the Laws of the United States, treaties made, or shall be made under their Authority; -
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   17. Plaintiff allege that all Defendants, whether directly or indirectly, violated constitutionally protected rights

       of the Plaintiffs that are secured by the First, Fourth, Fifth, and Fourteenth amendments to the Constitution

       of the United States, and the jurisdiction for the redressing of those grievances lies exclusively within the

       U.S. Federal District Court.

                                                 II. Necessary and Proper

   18. Plaintiff's case should please the public, the Court and DEFENDANTS, for the Unauthorized Attorneys

       also notices and admits DEFENDANTS are wrong [refer to doc# Motion to Dismiss Introduction:

       Defendants refer to foreclosure proceedings to violate our Constitutionally protected rights ] , yet

       he/she/they make(s) excuses as to why defendants are above the law, have the right to trick, mislead, coerce

       and harm, and should not be liable for acts of wrong.

   19. It is necessary and proper to protect and secure the rights of Plaintiffs, the people, the court and Defendants

       that no man or woman is to interfere with my right to summon the Defendants into open court before a

       tribunal and require the Defendants to appear under oath or affirmation, and press their word upon the

       record as to what Defendants truly believe.


                                                   VERIFICATION


Pursuant to 28 U.S. Code§ 1746(1): I, Annette Jeter - Sipple, Gary Sipple , declare under penalty of pe1jury

under the laws of the United States of America that the foregoing is true and correct. Executed on 30th day of the

June, 2023 of our Lord and Saviour, two thousand twenty-three A.O.
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Plaintiffs says here, and will verify in open court, that all herein be true. UNDER THE LAWS OF GOD, I

affirm that the facts alleged in the foregoing are correct according to my own best firsthand knowledge. These




                                                                   ac~~
words are true and faithful Revelation 21 :5.




                                                       By: Annette Jeter~b, Estate Trust, Gary Sipple Estate
                                                       Trust Plaintiffs

                                                       % P.O. Box 67711

                                                       near Topeka, without KANSAS state

                                                       [66667, not in FTZ]




                                  t~              Certificate of Service

I,      ~             S\~ \F              certify that a copy of the foregoing was provided via regular mail to the

below listed persons on the ___ day of June , 2023 of our Lord and Saviour, two thousand twenty-three A.O.



The Sipple Court presents
                                                        Real Party
Supplement to Verification

I, a woman, declare: a man/woman, Jonathan Brzon , claims to be counsel for Cyndi Beck, and he requests to dismiss my
case;

The unsworn statements of counsel are not evidence, and opinions of counsel are not sufficient for purposes of granting a
motion to dismiss. They do not allow the court "know" that this is what Cyndi Beck truly believe. The Cowt is to afford
Cyndi Beck the right to appear in cou1t, before the tribunal, and whilst under oath or affirmation, press her spoken word
upon the record;


Cou1t cannot take notice of Jonathan Brzon 's argument and [she], Cyndi Beck is entitled to judgment as "matter of
law";
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Note: the granting of a [motion for] summary judgment is not favorable as [normally] a full trial is required as the trial
settling affords the triers of fact the opportunity to observe the parties and their evidence;



                                                              We, say here, and will verify in open court, that all herein be true.


                                                                     tl~                        .
                                                                         ~---=-""4-_____.__-=!f-H-Y'C,,,,,..,
                                                                                                               ~~~
                                                                                                                b~ 30,- 2b -zc
                                                                                                         o "-----
                                                                                                    irst Middle Last          Date
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                                              NOTICE OF certificate of SERVICE:


Michael Zevitz
13160 Foster st STE 100
Overland Park, Ks 66213

Cyndi Beck                             "                         "·
6546 SW 23rd Ct
Topeka, Ks 66614

Mary Ellen Christopher                    "                   ".
Division 8 - office 322
200 SE 7th St
Topeka,Ks 66603

Teresa Lynn Watson                    "                      ".
Division 3 - office 324
200 SE 7th St
Topeka, Ks 66603

Shari Ashner                          "                      "   .
13160 Foster St STE 100
Overland Park, Ks 66213

William H, Meyer                      "                      "   .
13160 Foster st STE 100
Overland Park, Kansas 66213

The above parties have been duly served the following:
NOTICE: VERIFIED PETITION FOR PERMANENT EMERGENCY INJUNCTION AND OPPOSITION TO
STRIKE ATTORNEYS MOTION TO DISMISS

and as of this day 29th, 30t, June 2023 . I say here and will verify in open court that all herein be true.


                                                                      ~ /At~~
                                                                      ~ ~ fo                             91(   dd2}
                                                              FirstMiddlLast             DATE          k - 5tJ - Zbz J
                              By: Complainants and Equitable Beneficial Entitlement Holders
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The Sipple Court presents
                                                              notice:
                                                        denial of dismissal

i; a woman ; First Middle Last; deny the right to dismiss the above styled claim from anyone who is not:

      I. A man or woman with first hand knowledge of the facts of this claim;
and
      2.   A man or woman who verifies their evidence with full liability under oath or affirmation to a jury;
OR
      3. A jury having heard all the law, facts and evidence of the case;
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                                                                   Notice:
                                                   Delegation of Authority and Identity


i, woman I man; Annette Jeter - Sipple, Gary Sipple:

We is the only living breathing soul who has verified facts in the case and move for Judgment upon the Facts. The only thing
that is considered is the facts of the case on the record. The men and women replying as "counsel" for the Respondent(s) has
only been "enlightening" to the Court, but not sufficient to rise to the level of fact.


An attorney cannot admit evidence into the court. S/he is either an attorney or a witness.


[Cf. Trinsey v. Pagliaro D.C. Pa . 1964, 229 F. Supp. 64 7, FRCP 602]


Men and women who claim to be acting in as an attorney; officer of the court; are required to file onto the record their
delegation of authority, license to practice law and bonds related to this case 7 days prior to trial.
[Cf. Federal Rules of Evidence 602]


I require witnesses to file a verification of identity onto the record with full lability to their testimony and evidence.


[Maxims of law: Truth is Expressed in the Form of an Affidavit; An Unrebutted Affidavit stands as Truth in the Matter.]

    I say here and will verify in open court all herein be true.


~                                       '          ~
A,~             er ~               +~              D- ZJ
Gary Sipple Estate Trust
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The Sipple Court presents
                                                     notice: interference


I; woman; declare: any interference of, for, or with the enjoyment of my property [the exercise of right(s)], by any [wo]man
           ·,
employee of court will be held liable for damages due to injury and/or harm resulting from or arising from any tortuous act,
error or omission of the [wo]man.

I will require $1.00 USO for every second of any trespass.
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The Sipple Court presents Notice:

                                                            Notice:
                                               Definitions and Law of the Case
The meaning of the words used within the context of this case, are decreed as follows, thusly; let it be said, let it be done, and
none may add to, nor take away from , what is decreed and expressed herein which renders silent that which is implied,
assumed, or presumed [Cf. Expressum facit cessare tacitum. That which is expressed makes that which is implied to cease .
. . . Where a law sets down plainly its whole meaning the court is prevented from making it mean what the court pleases."
Munro v. City of Albuquerque, 48 N.M . 306, 150 P.2d 733-4);

 Trespass: To go or intrude (on the prope1ty, privacy, or preserves of another) with no right or permission.
/cf. Robert's River Rides v. Steamboat Dev., 520 N.W.2d 294,301 (Iowa 1994) "wrongful interference with one's
possessory rights in [real] property"]

Claim (n): a right to something; specifically :a title to a debt, privilege, or other thing in the possession of another.

Debt Collector: any person who uses any instrumentality of interstate commerce or the mails in any business the principal
purpose of which is the collection of any debts, or who regularly collects or attempts to collect, directly or indirectly, debts
owed or due or asserted to be owed or due another.

           Where attorneys serve as "debt collectors," as that term is defined under the Fair Debt Collection Practices Act
           (FDCPA), for serving to collect debts on behalf of their clients, they can expose themselves to liability by failing to
           comport with the FDCPA's structures and obligations- including the obligation to provide to consumers certain
           notices of their rights. [Cf. 15 U.S . Code§ 1692a (6))

2. Claimant (n): one who demands anything as a right [ 1747).

3. Loan (v): A loan is the act of giving money, property or other material goods to another party in exchange for future

repayment of the principal amount along with interest or other finance charges.


4. Contract (n): a legally binding or valid agreement between two patties. The law will consider a contract to be valid if the
agreement contains all of the following elements:
      I . offer and acceptance;

      2. an intention between the parties to create binding relations;

      3. consideration to be paid for the promise made;

      4.     legal capacity of the parties to act;

      5. genuine consent of the patties; and

      6. legality of the agreement.
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 An agreement that lacks one or more of the elements Iisted above is not a val id contract.

 5. Debt (n): ''any obligation or alleged obligation of a consumer to pay money arising out of a transaction in which the
 money, property, insurance or services which are the subject of the transaction are primarily for personal, family, or
 household purposes, whether or not such obligation has been reduced to judgment." [Cf. 15 USC §1692a(5)]


6. Consummation (n): Consummation is the date that a consumer becomes contractually obligated to the creditor on the loan .
Consummation is not the same closing or settlement. [Cf. TILA-RESPA RULE§ I 026 .2(a)(l 3)]


 7. Collateral (n): A property or other asset that a borrower offers as a way for a lender to secure a loan.


 8. Person (n): The term "person" includes an individual, partnership, association, corporation, organization, or any other
 com bi nation of individuals;




                                                             Annette Jeter - Sipple Gary Sipple 30, June 2023
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The Sipple Court presents Notice of court rules:

                                                       VERIFICATIONS
Firstly: i, a woman/ man, declare and require all documents including recommendations and orders being placed into the
case are to be verified in open court under oath or affirmation. All documents submitted without verification court will take
notice as contempt of court and will be void. All documents filed through the Office of the court clerk must be time stamped.
Secondly: I say here and will verify in open court that all here in be true.

                                                          SIGNATURES
Firstly: i, a woman/ man, declare and require all documents including recommendations and orders being placed into the
case file to have a fixed upon it a wet ink (blue ink) signature of its creator (NO RUBBER STAMPS) on all documents
submitted. Documents without wet ink (blue ink) signature the court will take notice as a contempt of court and will be void.

                                                   COMPENSATION
Firstly: i, a woman/ man, declare that compensatory damages in the amount of $50,000,000.00 USO are due posthaste.

Secondly: the arrival of the sum for damages is based upon the belief that to charge by the rate of I 0,900.00 United States
Dollars per day of wrongdoing is fair and just.

Fourthly: to date approximately 350 days have passed. Since the commencement of the use of an instrument which
prevents me from the enjoyment of my property physically.

                                                                                                               II herein be true.
                                                                                                                 ~
                                                                                                                       )            .
